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                                                      u.s. Department of Justice

                                                      United States Attorney
                                                      Eastern District o/New York
EDKlFTBIWJG                                           271 Cadman Plaza East
F. #2018R02250                                        Brooklyn. New York 11201



                                                      February 15,2023


By E-mail and ECF

Andrew J. Frisch, Esq.
Law Offices of Andrew Frisch
40 Fulton Street
New York, NY 10038

               Re:   United States v. Douglass Mackey
                     Criminal Docket No. 21-080 (NGG)

Dear Mr. Frisch:

               Enclosed please fmd a signed expert disclosure, provided in accordance with Rule
16(a)(I)(G) of the Federal Rules of Criminal Procedure. The government reserves the right to
supplement or correct this disclosure if appropriate. See Fed. R. Crim. P. 16(a)(I)(G)(vi). The
government also requests reciprocal discovery from the defendant pursuant to Rule 16(b)(I)(C)
of the Federal Rules of Criminal Procedure.

                                                      Very truly yours,

                                                      BREON PEACE
                                                      United States Attorney

                                            By:       _/~s/                      _
                                                      Erik D. Paulsen
                                                      F. Turner Buford
                                                      Assistant U.S. Attorneys
                                                      (718) 254-7000

                                                      William J. Gullotta
                                                      Trial Attorney
                                                      (202) 514-1412

Enclosure

cc:    Clerk of the Court (NGG) (by ECF)

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                         Disclosure as to Expert Witness Joel DeCapua

I.       Statement of Opinions, Bases and Reasons

                The following is "a complete statement of all opinions that the government will
elicit from the witness in its case-in-chief ... and the bases and reasons for them," Fed. R. Crim.
P. 16(a)(I)(G)(iii):

     •   In or about fall 2016, a person sending data over the internet, such as by using Twitter to
         transmit a "tweet" or a direct-message communication from a location in Manhattan to a
         location outside of New York State, would have done so in one of two ways: (1) through
         the services of a broadband internet-service provider; or (2) through a cellular data
         network.

     •   If the tweet or direct-message communication was transmitted through a broadband
         internet service provider, then the network packet containing the data necessary to
         transmit the information would have passed through fiberoptic cables that have been laid
         under the waters surrounding Manhattan and are used by internet-service providers to
         convey data.

     •   If the tweet or direct-message communication was transmitted through a cellular data
         network (e.g., if the tweet or direct-message communication was sent from the user ofa
         smart phone that was not connected to WIFI), then the information would have first been
         transmitted through the air to a cellular tower located on the island of Manhattan. From
         there, the information would have been routed from the cellular tower for eventual
         transmission through the same fiberoptic cables that have been laid under the waters
         surrounding Manhattan described above. In part because Manhattan is an island, nearly
         all electronic internet communications leaving or entering Manhattan pass through the
         fiberoptic cables that have been laid under the waters surrounding Manhattan. While it is
         possible that the initial transmission of information from the user in Manhattan could
         have gone to a cell tower located outside of Manhattan, that is extremely unlikely given
         how many cell towers are located in Manhattan. Even if such a transmission occurred,
         the information would have traveled over the waters surrounding Manhattan to reach a
         cell tower outside of Manhattan.

     •   The only other way that a tweet or direct-message communication could have traveled
         from Manhattan to a location outside of New York State is by connecting in the first
         instance with an orbiting satellite. This possibility is extraordinarily unlikely because the
         technology that would have permitted it was generally not available in 2016 and remains
         rare to this day. In any event, even if the initial transmission of information was to an
         orbiting satellite, the information would almost certainly have passed over the waters
         surrounding Manhattan to reach the satellite.

     •   The bases for each of the conclusions above is the witness's knowledge of internet and
         cellular-data infrastructure both generally and specifically with respect to the greater New
         York City area. This knowledge was acquired through training, study, interactions with
         service providers, and professional experience as a Special Agent with the Federal
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          Bureau of Investigation, in which capacity the witness has conducted numerous criminal
          investigations involving cybercrime and network intrusions.

II.       Qualifications

               The resume attached hereto as Exhibit 1 sets forth "the witness's qualifications,"
per Federal Rule of Criminal Procedure (a)(I)(G)(iii). The witness's qualifications are further
discussed in the transcripts of the testimony identified below. The witness has not authored any
publications in the previous 10 years.

III.      List of Cases

               The following is "a list of all other cases in which, during the previous 4 years,
the witness has testified as an expert at trial or by deposition," Fed. R. erim. P. 16(a)(1)(G)(iii): 1

        Approximate Date of          Case Name & Docket No.                        Court
             Testimonv
            Apri122,2022            u.s. v. Hilliard (19-cr-358)                 E.D.N.Y.
         ~ay 14,18-19,2021          U.S. v. Zhukov (18-cr-633)                   E.D.N.Y.
       December 5, 18,20,2017       U.S. v. Tuzman (15-cr-536)                   S.D.N.Y.

In addition, the transcripts of the testimony in these cases are attached hereto as Exhibit 2
(United States v. Hilliard); Exhibit 3 (United States v. Zhukov); and Exhibit 4 (United States v.
Tuzman), respectively.

                                                       Respectfully submitted,




                                                            , eCapua
                                                             ral Bureau of Investigation




               The testimony in the Tuzman case falls outside of the 4-year window specified in
Rule 16(a)(I)(G)(iii), but is included here as a courtesy.

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